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                                             ORDERED.

          Dated: December 17, 2018




                                UNITED STATES BANKRUPTCY COURT
                                   MIDDLE DISTRICT OF FLORIDA
                                        ORLANDO DIVISION
                                        www.flmb.uscourts.gov


In re :                                                                        Case No. 6:17-bk-07818-CCJ
                                                                               Chapter 7
Dwight Dickerson and
Tammy Dickerson,
                       Debtor(s).
______________________________/


 ORDER GRANTING TRUSTEE’S MOTION TO APPROVE CONSENTED SHORT SALE OF
   REAL PROPERTY FREE AND CLEAR OF LIENS, CLAIMS, ENCUMBRANCES, AND
            INTERESTS PURSUANT TO 11 U.S.C. § 363(b), (f), AND (m)

           This case came on for a hearing on December 11. 2018 at 2:45 p.m., on Trustee’s Motion to
Approve Consented Short Sale of Real Property Free and Clear of Liens, Claims, Encumbrances, and
Interests Pursuant to 11 U.S,C. § 363(b), (f), and (m), dated November 9, 2018, (docket no. 24). Having
reviewed the Motion, the file, and otherwise being advised on the premises,
           Accordingly, it is

1.   ORDERED that the Motion to Approve Consented Short Sale of Real Property Free and Clear of Liens,
     Claims, Encumbrances, and Interests Pursuant to 11 U.S,C. § 363(b), (f), and (m), is approved, and the
     Trustee is authorized to sell the estate’s interest in said property, as follows :

2.   The property to be sold is more particularly described as :
     Lots 82 and 125, Block 1, CAPE/ORLANDO ESTATES UNIT 3A, according to the plat thereof
     as recorded in Plat Book 3, Pages 101 and 102, of the Public Records of Orange County,
     Florida.

     Parcel ID No. 24-23-32-1165-10-820
     a/k/a 20324 Quinn Street, Orlando, FL 32833
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    3. The property shall be sold to the following buyer for the sales price indicated :

                                                                                Sales Price
    Michael T. Hutter and Heather D. Hutter                                     $ 325,000.00
    504 Obispo Ave.
    Orlando, FL 32807

    4. The Trustee has represented that no closing costs are to be paid by the Estate and Chase Mortgage
(the “Secured Creditor”) has agreed to pay the following : normal closing costs, real estate taxes, real
estate broker commission, municipality fees, and bankruptcy estate carve out as described in the
Motion. Additionally, Secured Creditor has agreed to accept a reduced payoff pursuant to the letter
attached as Exhibit “A: to the Motion.
    5. Trustee is authorized to transfer title to the property by Trustee’s Deed, conveying the interest
of the estate, subject to all encumbrances, including current taxes, assessments, zoning, restrictions,
and other requirements imposed by governmental authorities, restrictions and other matters appearing
on the plat or otherwise common to the subdivision and/or condominium, and public utility easements
of record.
    6. The Estate shall provide to buyer, a certified copy of the Order approving sale, certified copy of
Notice of Commencement and certified copy of docket, reflecting no objection to the sale, or if any,
that said objections have been overruled by Court Order.
    7. Notice of the Motion was proper and no response were received. Thus, to the extent any
creditor (other than the Secured Creditor) asserts an interest or secured claim against the
Property, such creditor is deemed to have consented to entry of this Order, and such creditor’s
claim shall not be a secured claim.
    8. The 14-day stay pursuant to Rule 6004(h) is hereby waived.



Attorney Kristen L. Henkel is directed to serve a copy of this Order on interested parties who are non-
CM/ECF users and file a proof of service within 3 days of entry of the Order.




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